Case 1:25-cv-00409-BAH   Document 7-10   Filed 03/17/25   Page 1 of 3




                EXHIBIT 9
3/14/25, 5:15 PM      Case 1:25-cv-00409-BAH                    Document   7-10
                                                                    USPS.com®        Filed 03/17/25
                                                                              - USPS Tracking® Results   Page 2 of 3
         ALERT: SEVERE WEATHER IN THE MIDWEST AND CENTRAL U.S. AND WINTER STORMS IN TH…


   USPS Tracking
                                                ®                                                                        FAQs 




                                                                                                                       Remove 
   Tracking Number:

   9414811206206567966926
          Copy             Add to Informed Delivery (https://informeddelivery.usps.com/)




          Expected Delivery by

          MONDAY

          17              March
                          2025 
                                           by
                                           9:00pm 
          USPS is now in possession of your item as of 4:34 pm on March 14, 2025 in FAIRFAX, VA 22031.




                                                                                                                              Feedback
          Get More Out of USPS Tracking:
                   USPS Tracking Plus®

          Delivered


          Out for Delivery


          Preparing for Delivery


          In Transit




                                                                                   EXHIBIT 9 - DOGE Temp Tracking
https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=9414811206206567966926                                                         1/2
3/14/25, 5:15 PM     Case 1:25-cv-00409-BAH                     Document   7-10
                                                                    USPS.com®        Filed 03/17/25
                                                                              - USPS Tracking® Results   Page 3 of 3
          Accepted
          USPS in possession of item
          FAIRFAX, VA 22031
          March 14, 2025, 4:34 pm


          Shipping Label Created, USPS Awaiting Item
          WASHINGTON, DC 20005
          March 14, 2025, 2:13 pm


     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                       
        Text & Email Updates


                                                                                                                       
        Return Receipt Electronic


                                                                                                                       
        USPS Tracking Plus®


                                                                                                                       
        Product Information


                                                                     See Less 

   Track Another Package


      Enter tracking or barcode numbers




                                                         Need More Help?
                                     Contact USPS Tracking support for further assistance.


                                                                          FAQs




                                                                                   EXHIBIT 9 - DOGE Temp Tracking
https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=9414811206206567966926                                           2/2
